       Case 1:19-vv-00192-UNJ          Document 154       Filed 05/02/25      Page 1 of 4




            In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                    Filed: April 7, 2025

* * * * * * * * * * * * * *
JANELL WARD,                                 *       UNPUBLISHED
                                             *
               Petitioner,                   *       No. 19-192V
                                             *
v.                                           *       Special Master Dorsey
                                             *
SECRETARY OF HEALTH                          *       Attorneys’ Fees and Costs.
AND HUMAN SERVICES,                          *
                                             *
               Respondent.                   *
                                             *
* * * * * * * * * * * * * *

Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.
Lauren Kells, U.S. Department of Justice, Washington, DC, for Respondent.

                    DECISION ON ATTORNEYS’ FEES AND COSTS 1

        On February 1, 2019, Janell Ward (“Petitioner”) filed a petition in the National Vaccine
Injury Program 2 alleging that she suffered transverse myelitis (“TM”) as a result of an influenza
(“flu”) vaccine she received on November 1, 2016. Petition at 1 (ECF No. 1). On July 9, 2024,
the undersigned issued a decision based on stipulation. Decision Based on Stipulation dated July
9, 2024 (ECF No. 143).



1
  Because this Decision contains a reasoned explanation for the action in this case, the
undersigned is required to post it on the United States Court of Federal Claims’ website and/or at
https://www.govinfo.gov/app/collection/uscourts/national/cofc in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of
Electronic Government Services). This means the Decision will be available to anyone with
access to the Internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would
constitute an unwarranted invasion of privacy. If, upon review, the undersigned agrees that the
identified material fits within this definition, the undersigned will redact such material from
public access.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-10 to -34 (2018) (“Vaccine Act” or “the Act”). All citations in this Decision
to individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                 1
       Case 1:19-vv-00192-UNJ          Document 154        Filed 05/02/25      Page 2 of 4




         On November 26, 2024, Petitioner filed an application for attorney’s fees and costs.
Petitioner’s Application for Attorneys’ Fees and Costs (“Pet. App.”), filed Nov. 26, 2024 (ECF
No. 148). Petitioner requests compensation in the amount of $117,854.28, representing
$82,274.75 in attorney’s fees and $35,579.53 in costs. Id. at 1-2. Pursuant to General Order No.
9, Petitioner warrants that she has not personally incurred any costs in pursuit of his claim for
compensation. Id. at 2. Respondent filed his response on December 11, 2024, stating he “is
satisfied the statutory requirements for an award of attorneys’ fees and costs are met in this
case.” Respondent’s Response to Pet. Mot., filed Dec. 11, 2024, at 2 (ECF No. 150). The matter
is now ripe for disposition.

       For the reasons discussed below, the undersigned GRANTS IN PART Petitioner’s
motion and awards a total of $109,054.28.

I.     DISCUSSION

        Under the Vaccine Act, the special master shall award reasonable attorneys’ fees and
costs for any petition that results in an award of compensation. § 15(e)(1). When
compensation is not awarded, the special master “may” award reasonable attorneys’ fees and
costs “if the special master or court determines that the petition was brought in good faith and
there was a reasonable basis for the claim for which the petition was brought.” Id. In this case,
because Petitioner was awarded compensation pursuant to a stipulation, she is entitled to a
final award of reasonable attorneys’ fees and costs.

       A.      Reasonable Attorneys’ Fees

         The Federal Circuit has approved use of the lodestar approach to determine reasonable
attorneys’ fees and costs under the Vaccine Act. Avera v. Sec’y of Health & Hum. Servs., 515
F.3d 1343, 1349 (Fed. Cir. 2008). Using the lodestar approach, a court first determines “an
initial estimate of a reasonable attorney’s fee by ‘multiplying the number of hours reasonably
expended on the litigation times a reasonable hourly rate.’” Id. at 1347-58 (quoting Blum v.
Stenson, 465 U.S. 886, 888 (1984)). Then, the court may make an upward or downward
departure from the initial calculation of the fee award based on other specific findings. Id. at
1348.

        Counsel must submit fee requests that include contemporaneous and specific billing
records indicating the service performed, the number of hours expended on the service, and the
name of the person performing the service. See Savin v. Sec’y of Health & Hum. Servs., 85 Fed.
Cl. 313, 316-18 (2008). Counsel should not include in their fee requests hours that are
“excessive, redundant, or otherwise unnecessary.” Saxton v. Sec’y of Health & Hum. Servs., 3
F.3d 1517, 1521 (Fed. Cir. 1993) (quoting Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)). It is
“well within the special master’s discretion to reduce the hours to a number that, in [her]
experience and judgment, [is] reasonable for the work done.” Id. at 1522. Furthermore, the
special master may reduce a fee request sua sponte, apart from objections raised by Respondent
and without providing a petitioner notice and opportunity to respond. See Sabella v. Sec’y of
Health & Hum. Servs., 86 Fed. Cl. 201, 209 (2009).




                                                 2
       Case 1:19-vv-00192-UNJ          Document 154        Filed 05/02/25      Page 3 of 4




       A special master need not engage in a line-by-line analysis of a petitioner’s fee
application when reducing fees. Broekelschen v. Sec’y of Health & Hum. Servs., 102 Fed. Cl.
719, 729 (2011). Special masters may rely on their experience with the Vaccine Program and its
attorneys to determine the reasonable number of hours expended. Wasson v. Sec’y of Health &
Hum. Servs., 24 Cl. Ct. 482, 484 (Fed. Cl. Nov. 19, 1991), rev’d on other grounds & aff’d in
relevant part, 988 F.2d 131 (Fed. Cir. 1993). Just as “[t]rial courts routinely use their prior
experience to reduce hourly rates and the number of hours claimed in attorney fee requests . . .
[v]accine program special masters are also entitled to use their prior experience in reviewing fee
applications.” Saxton, 3 F.3d at 1521.

               i.     Reasonable Hourly Rates

       Petitioner requests the following hourly rates for the work of her counsel: for Mr. Ronald
Homer, $430.00 per hour for work performed in 2019, $447.00 per hour for work performed in
2020 and 2021, $475.00 per hour for work performed in 2022, $500.00 per hour for work
performed in 2023, and $525.00 per hour for work performed in 2024; for Mr. Patrick Kelly,
$225.00 per hour for work performed in 2021, $250.00 per hour for work performed in 2022,
$305.00 per hour for work performed in 2023, and $345.00 per hour for work performed in
2024; for Ms. Meredith Daniels, $350.00 per hour for work performed in 2020 and 2021,
$410.00 per hour for work performed in 2022, $455.00 per hour for work performed in 2023, and
$485.00 per hour for work performed in 2024; for Ms. Christina Ciampolilo, $380.00 per hour
for work performed in 2020 and $470.00 per hour for work performed in 2023; for Ms. Lauren
Faga, $285.00 per hour for work performed in 2019; $330.00 per hour for work performed in
2020; and $385.00 per hour for work performed in 2022; and for Mr. Joseph Pepper, $297.00 per
hour for work performed in 2017, $305.00 per hour for work performed in 2018, $325.00 per
hour for work performed in 2019, $355.00 per hour for work performed in 2020 and 2021,
$415.00 per hour for work performed in 2022, $455.00 per hour for work performed in 2023, and
$485.00 per hour for work performed in 2024. Petitioner also requests rates between $136.00
and $195.00 for work of her counsel’s paralegals and law clerks performed from 2017 to 2024.

      The undersigned finds the rates are consistent with what counsel have previously been
awarded for their Vaccine Program work, and finds them to be reasonable herein.

               ii.    Reasonable Hours Expended

        In reducing an award of fees, the goal is to achieve rough justice, and therefore a special
master may take into account their overall sense of a case and may use estimates when reducing
an award. See Florence v. Sec’y of Health & Hum. Servs., No. 15-255V, 2016 WL 6459592, at
*5 (Fed. Cl. Spec. Mstr. Oct. 6, 2016) (citing Fox v. Vice, 563 U.S. 826, 838 (2011)). It is well
established that an application for fees and costs must sufficiently detail and explain the time
billed so that a special master may determine, from the application and the case file, whether the
amount requested is reasonable. Bell v. Sec’y of Health & Hum. Servs., 18 Cl. Ct. 751, 760
(1989); Rodriguez v. Sec’y of Health & Hum. Servs., No. 06-559V, 2009 WL 2568468 (Fed. Cl.
Spec. Mstr. July 27, 2009). Petitioner bears the burden of documenting the fees and costs
claimed. Rodriguez, 2009 WL 2568468 at *8.




                                                 3
         Case 1:19-vv-00192-UNJ        Document 154        Filed 05/02/25      Page 4 of 4




       The undersigned has reviewed the submitted billing entries and finds the total number of
hours billed to be reasonable and will award them in full.

         B.      Attorneys’ Costs

         Petitioner requests a total of $35,579.53 in attorney’s costs. This amount is comprised of
the filing fee, acquiring medical records, FedEx and other shipping costs, life care planner and
mediation costs, and a visit to Petitioner. The undersigned has reviewed the requested costs and
finds them to be reasonable and mostly supported with appropriate documentation. However, a
reduction is necessary for a November 26, 2024 charge for a “supplemental report” from Dr.
Daniel J. Bonthius for $8,800.00. This appears to be inadvertently added to this matter as no
expert reports were filed in this case. Additionally, no documentation to support this cost was
provided. Counsel confirmed this was an error via email on April 7, 2024. This results in a
reduction of $8,800.00.

II.      CONCLUSION

        Based on all of the above, the undersigned finds that it is reasonable to compensate
Petitioner and her counsel as follows:

    Attorneys’ Fees Requested                             $82,274.75
    (Total Reduction from Billing Hours)                  - $0.00
    Total Attorneys’ Fees Awarded                         $82,274.75

    Attorneys’ Costs Requested                            $35,579.53
    (Reduction of Costs)                                  - $8,800.00
    Total Attorneys’ Costs Awarded                        $26,779.53

    Total Attorneys’ Fees and Costs Awarded               $109,054.28

         Petitioner is awarded attorneys’ fees and costs in the total amount of $109,054.28 to
         be paid through an ACH deposit to Petitioner’s counsel’s IOLTA account for
         prompt disbursement.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with this decision. 3

         IT IS SO ORDERED.

                                              s/Nora Beth Dorsey
                                              Nora Beth Dorsey
                                              Special Master


3
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing
of notice renouncing the right to seek review.


                                                 4
